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                  IN THE DISTRICT COURT OF THE VIRGIN ISLANDS
                       DIVISION OF ST. THOMAS AND ST. JOHN

UNITED STATES OF AMERICA,
                                                    3:19-cr-79
v.

KAI JAMES,
                  Defendant
_________________________________/

      MOTION FOR NOTICE OF UNITED STATES’ INTENT TO USE EVIDENCE

     COMES NOW, Defendant pursuant to Fed. R. Crim. P. 12(b)(4)(B) demand that the United

States provide notice of the United States’ intent to use (in its evidence-in-chief at trial) any

evidence that the Defendant may be entitled to discover. This request is made in furtherance of

Defendant’s right to Rule 16 discovery and in order to have an opportunity to move to suppress

evidence prior to trial in this matter.

DATED: April 8, 2020                                Respectfully submitted,


                                                    /s/Darren John-Baptiste______
                                                    Attorney for the Defendant
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                                                    St. Thomas, V.I. 00802
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                                                    Email: djohnbap@gmail.com



                                  CERTIFICATE OF SERVICE

I HEREBY CERTIFY that on April 8, 2020, an exact copy of the foregoing was electronically
filed with the Clerk of the Court using the CM/ECF system which will send a notification of the
filing (NEF) to the parties in the above captioned action
                                            /s/ Darren John-Baptiste
